Case 1:21-cr-00229-RBJ Document 240-1 Filed 04/07/22 USDC Colorado Page 1 of 16

 

Juror Question (s)

 

 

Please remember, you may submit a question only to the witness in this case, not to the Judge or attorneys.
Juror Questioning

For Witness: A\ hdc LAS Hon RAK
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Case 1:21-cr-00229-RBJ Document 240-1 Filed 04/07/22 USDC Colorado Page 2 of 16

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Juror Question (s)

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For Witness: ANQGGL> PAVE

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Juror Questioning
Procedure

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the witness at an appropriate
time before the witness is
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Question No. | kL

ACTION BY THE COURT: [A Fermitted
O Denied

“NK of enfrrg C1 Rephrased

 

 

 

Page 3 of 16
Case 1:21-cr-00229-RBJ Document 240-1 Filed 04/07/22 USDC Colorado Page 4 of 16

 

Please remember, you may submit a question only to the witness in this case, not to the Judge or attorneys.

 

 

For Witness:

 

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Question No. l 4

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Case 1:21-cr-00229-RBJ Document 240-1 Filed 04/07/22 USDC Colorado Page 5 of 16

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Case 1:21-cr-00229-RBJ Document 240-1 Filed 04/07/22 USDC Colorado

Please remember, you may submit a question only to the witness in this case, not to the Judge or attorneys.

 

 

 

 

 

For Witness:
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Juror Questioning
Procedure

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Question No. } 4
ACTION BY THE COURT: Permitted

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Case 1:21-cr-00229-RBJ Document 240-1 Filed 04/07/22 USDC Colorado Page 7 of 16

 

Juror Question (s)

Please remember, you may submit a question only to the witness in this case, not to the Judge or attorneys.

 

For Witness:

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Juror Questioning
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ACTION BY THE COURT:
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Juror Question (s)

Case 1:21-cr-00229-RBJ Document 240-1 Filed 04/07/22 USDC Colorado

Please remember, you may submit a question only to the witness in this case, not to the Judge or attorneys.

 

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For Witness:

Question:

 

 

 

 

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Juror Questioning
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Question No. 6

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Page 8 of 16

 

 
Case 1:21-cr-00229-RBJ Document 240-1 Filed 04/07/22 USDC Colorado Page 9 of 16
Case 1:21-cr-00229-RBJ Document 240-1 Filed 04/07/22 USDC Colorado Page 10 of 16

 

Juror Question (s)

Please remember, may submit a question only to the witness in this case, not to the Judge or attorneys.

For Witness: Andre ly Hay - d k Juror Questioning

Procedure

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Case 1:21-cr-00229-RBJ Document 240-1 Filed 04/07/22 USDC Colorado Page 11 of 16

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Juror Question (s)

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For Witness: Juror Questioning
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Juror Question (s)

Case 1:21-cr-00229-RBJ Document 240-1 Filed 04/07/22 USDC Colorado Page 13 of 16

Please remember, you may submit a question only to the witness in this case, not to the Judge or attorneys.

 

 

 

 

 

 

 

 

 

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Juror Questioning
Procedure

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Case 1:21-cr-00229-RBJ Document 240-1 Filed 04/07/22 USDC Colorado Page 14 of 16

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Case 1:21-cr-00229-RBJ Document 240-1 Filed 04/07/22 USDC Colorado

 

Juror Question (s)

 

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For Witness: \OC ’ Artin | Gre lo e \

 

 

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Juror Questioning
Procedure

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Question No. ge

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Page 15 of 16

 

 
Case 1:21-cr-00229-RBJ Document 240-1 Filed 04/07/22 USDC Colorado

 

Juror Question (s)

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For Witness: VOT rN Hun oA MoLene \

 

 

Juror Questioning
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